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July 25, 2023                                                    Dubai          San Diego
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                                                                 Hamburg        Shanghai
The Honorable Maryellen Noreika                                  Hong Kong      Silicon Valley
United States District Judge                                     Houston        Singapore
                                                                 London         Tel Aviv
U.S. District Court                                              Los Angeles    Tokyo
844 N. King Street                                               Madrid         Washington, D.C.
Wilmington, DE 19801


                      Re:   United States v. Biden, No. 23-MJ-00274-MN

Your Honor:

         We write this letter and provide the accompanying affidavit in response to the Court’s Oral
Order directing that counsel for Defendant show cause as to “why sanctions should not be
considered for misrepresentations to the Court.” See Dkt. No. 12. The matter under consideration
appears to stem from an unfortunate and unintentional miscommunication between a staff member
at our firm and employees of the Court. We have no idea how the misunderstanding occurred, but
our understanding is there was no misrepresentation. Our staff member, who serves as our Director
of Litigation Services (“Lit Services”), represented her affiliation with Latham & Watkins LLP to
the ECF Clerk with whom she spoke earlier today. Both her phone number and her affiliation with
Latham also typically appears on Caller ID (which typically shows “LATHAM”). We hope this
letter and the attached declaration dispels any suggestion that undersigned counsel or our staff
would ever intentionally misrepresent or mislead the Court with respect to any matter.

        As this Court is aware, this morning, Chairman Smith, through his attorneys at Halloran
Farkas + Kittila LLP (“Halloran”) made a submission including several exhibits containing
sensitive information regarding our client, including what we believe in good faith to include grand
jury, tax payer, and other sensitive information. The United States District Courts for the District
of Delaware have issued a Notice Regarding Criminal Case File Documents (the “Notice”),1 in
which certain personal information shall be protected, and “personal data identifiers must be
partially redacted from [any] document whether it is filed traditionally or electronically.” Upon
learning that certain exhibits may contain information subject to the protections of both the Notice
and Fed. R. Crim. Proc. 49.1, we quickly alerted Halloran of our concerns.

       Contemporaneous with those communications, we asked our Lit Services Staff Member to
determine whether a mechanism is available to protect such information from further disclosure.
The Lit Services Staff Member is an administrative staff member with over eighteen years of

1
    https://www.ded.uscourts.gov/sites/ded/files/cm-ecf/CMECF-PrivacyCrDE.pdf.
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experience at the firm. She is not a practicing attorney, and is responsible for, among other things,
preparing court submissions for filing, procedural rules in connection with same, and daily
communications with the Court offices throughout the United States. As is routine and part of her
normal firm responsibilities, the Lit Services Staff Member has in prior circumstances alerted ECF
Clerks in other cases and in other jurisdictions to concerns stemming from the filing on a public
docket of personal or other protected information of a firm client. In those prior instances she
worked with ECF Clerks to temporarily quarantine such information pending a formal submission
under seal.

       Consistent with my instructions, earlier today our Lit Services Staff Member called and
introduced herself to the ECF Clerk, and provided her full name and firm affiliation, and notified
the ECF Clerk that she believed one or more exhibits in the recent filing may have personal
information which we believed, in good faith, should not be on the public docket.

        The ECF Clerk asked for more information about which specific materials should not have
been filed on the public docket. Our Lit Services Staff Member did not immediately know the
answer because she has had no involvement in this matter, other than occasional docket research.
Because she did not know the answer to the ECF Clerk’s question, our Lit Services Staff Member
indicated she would call the ECF Clerk back with more information. Shortly thereafter, and before
getting a chance to call the ECF Clerk back, our Lit Services Staff Member received a call from a
different employee of the Court. This second employee of the Court informed our Lit Services
Staff Member that the filing had been removed from the Court’s docket.

        We can only speculate how and when the misunderstanding occurred. We noted, however,
that the Court employee who corresponded with Halloran (see Dkt. No. 8-1) is not the first ECF
Clerk with whom our Lit Services Staff Member spoke. Our Lit Services Staff Member did not
get the name of the second Court employee with whom she spoke.

        Other than working on docket research, our Lit Services Staff Member was not engaged in
the substantive defense of our client, Mr. Biden. And at no point was it our Lit Services Staff
Member’s intent, or the intent of the firm, to mislead the Court with respect to the intention to
protect our client’s information.

       It is not our intention, through this submission or otherwise, to undermine any investigation
conducted by the Court into this matter. However, to the extent there was a lack of clarity as to
the purpose or intentions of our Lit Services Staff Member when she alerted the Court of our
concerns, it was completely unintentional in nature and not in any way intended to persuade the
Court or anyone else to take action that it would not otherwise take as a routine administrative
matter. In such circumstances, award of sanctions is generally found not to be warranted. See
Martineza v. Towne Ests. Condo. Owners Ass'n, Inc., No. 1:12-CV-779-RGA, 2014 WL 2293689,
at *1 (D. Del. May 27, 2014) (declining to impose sanctions where conduct was the result of
“confusion or miscommunication”; Novartis Pharms. Corp. v. Par Pharm., Inc., No. CV 11-1077-
RGA, 2014 WL 1266320, at *2 (D. Del. Mar. 26, 2014) (declining sanctions where no bad faith
was present).
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        We stand prepared to address any inquiries of the Court to rectify this misunderstanding.
Should the Court consider this letter and the accompanying materials to be an insufficient
explanation for this misunderstanding, we request an opportunity to more fully brief and be heard
on the issues of concern to the Court.

                                              Respectfully submitted,




                                              Matthew S. Salerno

          Enclosure


cc:       Benjamin L. Wallace, Esq. (U.S. Department of Justice)
          Leo J. Wise, Esq. (U.S. Department of Justice)
          Derek E. Hines, Esq. (U.S. Department of Justice)
          Christopher J. Clark, Esq. (Clark Smith Villazor LLP)
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